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                          UNITED STATES DISTRICT COURT

                          MIDDLE DISTRICT OF LOUISIANA

MINUTE ENTRY:
AUGUST 23, 2022
CHIEF DISTRICT JUDGE SHELLY D. DICK


ALEX A.                                                               CIVIL ACTION

VERSUS
                                                                      22-573-SDD-RLB
JON BEL EDWARDS, ET AL.


      This matter came on this day for a Telephone Status Conference.

       PRESENT: Christopher James Murell, Esq.
                Ronald S. Haley, Jr., Esq.
                Sara Helene Godchaux, Esq.
                David J. Utter, Esq.
                William R. Claiborne, Esq.
                Counsel for Plaintiff

                    Matthew F. Block, Esq.
                    John Charles Walsh, Esq.
                    Tina Vanichchagorn, Esq.
                    Counsel for John Bel Edwards

                    Lemuel E. Montgomery, III, Esq.
                    Connell Lee Archey, Esq.
                    Kyle V. Miller, Esq.
                    Counsel for Office of Juvenile Justice

                    Jonathan R. Vining, Esq.
                    Counsel for Department of Corrections

       This matter came on this day for a telephone status conference. The Defendants

stipulated that no juveniles will be transferred to any adult facility, including Louisiana

State Penitentiary (“Angola”) from the Bridge City Center for Youth (“BCCY”) before
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September 15, 2022. Considering the stipulation there is no imminent emergency and

the Emergency Motion for Temporary Restraining Order,1 will be denied.

          This matter is set for a Preliminary Injunction hearing to be held in Courtroom One

on September 6 and 7, 2022, commencing at 9:00 a.m.

          The following deadlines were established:

          Defendants are hereby ordered to disclose the plan for the proposed
          transfer and detention of juveniles presently detained at BCCY on or before
          August 24, 2022;

          Motion to Interview juveniles detained at BCCY, and simultaneously filed
          briefs addressing any opposition to interviews and the confidentiality of the
          identities and the confidentiality of the detention records (including medical
          and counseling records) of the juveniles detained at BCCY shall be filed on
          or before August 24, 2022.

          Written discovery shall be propounded by August 25, 2022. Responses to
          written discovery are due by August 30, 2022;

          Parties shall notice depositions by August 31, 2022. All depositions shall
          be complete by the September 5, 2022.

          Parties shall disclose their juvenile justice expert by August 25, 2022.

          Deadline to file a Motion for proposed expert to conduct a site visit is August
          26, 2022. Any Opposition to Motion for expert site visit is due August 29,
          2022.

          Expert Reports due September 2, 2022.

          Deadline to file an opposition to the Motion for Injunctive Relief due August
          26, 2022.

          Proposed Findings of Fact and Conclusions of Law shall be filed by
          September 2, 2022.

          Witness and exhibits lists shall be filed by September 2, 2022.

                                             *****
Cv54/30 mins.


1
    Rec. Doc. 3.
